UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
vs.                                           No. 20-cr-538 (PGG)
DONNELL RUSSELL,
           Defendant.




         DEFENDANT RUSSELL’S POST-TRIAL MOTIONS AND
              MEMORANDUM OF LAW IN SUPPORT



Dated:     August 5, 2022   /s/ Michael G. Freedman
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                                 INTRODUCTION

      Defendant Donnell Russell, through counsel, and pursuant to Fed.R.Crim.P

29(c) and 33, respectfully moves the Court for a judgment of acquittal, or, in the

alternative, for a new trial, as to count two. Mr. Russell was acquitted of count

one. His motions as to count two should be granted for several reasons. First, his

motion for a judgment of acquittal should be granted because the government

failed to present sufficient evidence regarding the threat call and the caller’s

identity for any rational trier of fact to have concluded that Mr. Russell made the

threat call. Second, the new trial motion should be granted because the PowerPoint

exhibits the Court allowed the government to introduce were inadmissible and

unfairly prejudiced Mr. Russell by focusing the jury’s attention on Robert

Sylvester Kelly and the government’s guilt-by-association allegation that Mr.

Russell was Mr. Kelly’s manager, which he was not.

                                  BACKGROUND

      As detailed in the indictment and complaint filed in this case, Mr. Russell

was charged with one count of conspiracy to threaten physical harm by interstate

communication, in violation of 18 U.S.C. § 371 and one count of threatening

physical harm by interstate communication, in violation of 18 U.S.C. § 875(c),

which prohibits the transmission “in interstate or foreign commerce any

communication containing any threat to kidnap any person or any threat to injure


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the person of another.” The core allegation in the case was that Mr. Russell

worked as Robert Kelly’s manager and called in a threat to Neuehouse on

December 4, 2018 to stop a screening of the documentary Surviving R. Kelly

taking place there that evening.

      Before trial, the Court granted Mr. Russell’s request to employ a jury

questionnaire, reasoning that:

      Given that the defendant is the alleged former manager of R. Kelly, and

      given that he allegedly transmitted an unlawful threat in connection with

      efforts to prevent the screening of a documentary, disclosing R. Kelly's sex

      trafficking crimes, it is apparent that this Court must take careful steps to

      determine whether anyone in the venire has heard of R. Kelly,

      has heard about the criminal case against him, has seen or

      heard anything about the Surviving R. Kelly documentary, has

      heard about the aborted effort to screen the Surviving R. Kelly

      documentary at NeueHouse, and if so, whether they can put these

      facts out of their minds and serve as a fair and impartial

      juror in this case.

(RT 7/14/22 at 31:8-20).

      At the final pretrial conference, the Court also reserved ruling on the

government’s motion to admit other alleged threats by Mr. Russell under Federal


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Rule of Evidence Rule 404(b) based on Mr. Russell’s stated plan to concede at trial

that he sought to stop the screening, which meant his motive and intent would not

be at issue. (RT 7/14/22 at 12:16-13:15). Mr. Russell did just that at trial,

conceding he wanted to stop the screening, and this evidence was not admitted.

      The Court also ruled on Mr. Russell’s fifth motion in limine that it would

“not permit evidence disclosing R. Kelly’s crimes involving child pornography and

the sex trafficking of minors.” (RT 7/14/22 at 36:9-13). The Court elaborated on

this point several times in response to arguments by the government:

      I cannot permit the jury to hear about the sensational and highly disturbing

      crimes that R. Kelly has now been convicted of committing because I'm

      concerned that on the part of the jurors with respect to the nature of his

      crimes would swamp their ability to resolve what is actually a pretty

      straightforward case about whether a threat was phoned into a venue or not.

(RT 7/14/22 at 42:23-43:4).

      We’re here because someone phoned in a threat to a venue that there was a

      man there with a gun who was going to shoot up the place. That’s why we’re

      here. We’re not here because R. Kelly is a child pornographer and because

      he sexually abused minor females. That’s not why we’re here. And how

      exactly do you expect me to ensure a fair trial for this man if he’s linked

      with the so-called devil? The so-called monster? The so-called sexual abuser


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      of countless minor females? How is that not totally going to swamp what is

      a very narrow issue here?

(RT 7/14/22 at 52:6-15).

      The trial commenced on July 18, 2022. During the trial, the government

sought to offer into evidence a series of PowerPoint presentations that Mr. Russell

allegedly prepared and sent to Lifetime executives in an effort to stop the network

from screening the documentary. (GEX 1409A, 1502B, 1512B, 1312, 1422,

1403). The government sought to admit this material as evidence of Mr. Russell’s

criminal intent. As the Court noted, “the government wishes to introduce these

exhibits to demonstrate that the defendant, who allegedly prepared a number of the

exhibits, did so in order to intimidate Mr. Kelly's victims.” (RT 7/19/22 at 2:12-

15). Mr. Russell objected on the basis of unfair prejudice for the same reasons

addressed in his fifth motion in limine. (RT 7/19/22 at 5:7-25). Mr. Russell also

objected based on the same reasoning the Court applied to the 404(b) evidence,

namely that Mr. Russell was not contesting his motivation and intent to stop the

screening. (RT 7/19/22 at 9:3-10:4). The Court nonetheless admitted the

PowerPoint presentations into evidence.

      Also during the trial, the government presented circumstantial evidence that

it argued established that Mr. Russell was the individual who made the threat call.

Specifically, the government introduced, inter alia, testimony from the recipient of


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the threat call, an investigator to summarize call logs, and a cell site specialist to

discuss cell site data for Mr. Russell’s cell phones.

      The jury deliberated on July 22, 2022 and returned a split verdict—not guilty

on count one, conspiracy, and guilty on count two, threatening physical harm by

interstate communication.

                                    ARGUMENT

   A. Motion for Judgment of Acquittal

      “A defendant challenging the sufficiency of the evidence bears a heavy

burden, because the reviewing court is required to draw all permissible inferences

in favor of the government and resolve all issues of credibility in favor of the jury

verdict.” United States v. Kozeny, 667 F.3d 122, 139 (2d Cir. 2011). A conviction

must stand if “any rational trier of fact could have found the essential elements of

the crime beyond a reasonable doubt.” Id.

      Here, a rational trier of fact could not have found the essential elements of

the crime beyond a reasonable doubt. Specifically, the government failed to prove

that Mr. Russell “transmit[ted] . . . any communication containing any threat . . . to

injure the person of another.” 18 U.S.C. § 875(c).

      Drawing all permissible inferences in favor of the government, the

government’s case argument was essentially as follows: the threat call came from

Mr. Russell’s landline at either 7:37 p.m. or 7:38 p.m. and it was clear that Mr.
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Russell made the call because his cellphones were in the vicinity of the landline at

the time. But there are numerous reasons why this was not sufficient for any

rational trier of fact to find the essential elements of the crime beyond a reasonable

doubt.

         First, the only person who heard the threat call, Adrian Krasniqi, was not

sure what time he received the call and could not identify the phone number

associated with the threat call. But there were numerous other calls by Mr. Russell

and others to the venue in the hour preceding Mr. Krasniqi’s 911 call. (GEX 901,

209, 302). So the government’s proof as to when the threat call was made, let

alone who made it, is exceedingly thin. No rational finder of fact could have

concluded that Mr. Russell made the threat call based on this thin evidence.

         Second, the government offered no evidence to prove that it was Mr.

Russell’s voice that Mr. Krasniqi heard. Indeed, Mr. Krasniqi testified that the

voice of the threat caller sounded different than on the first call he had, which was

with Mr. Russell. Mr. Krasniqi specifically testified that the caller sounded

different, like he was from Brooklyn, and like he was outside. (RT 7/20/22 at

221:1-25). All of this is inconsistent with the government’s argument and

insufficient to prove Mr. Russell made the threat call. This evidentiary deficiency

is especially pronounced given that no witness could identify Mr. Russell by voice,

so there was no proof that it was his voice on the threat call.


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      Third, the government’s evidence regarding the landline used to make the

threat call is inconclusive. The 1689 number appeared to be a fax number, as

several pieces of evidence confirmed. (GEX 902, 1418, 301; see also RT 7/20/22

at 187:5-12). Rather than address this issue with evidence, the government

attempted to distract the jury with cell site data about Mr. Russell’s other numbers,

the 5608 and 3030 numbers. (GEX 501). But that evidence just proves Mr.

Russell was in the vicinity of the landline the government alleges was used to

make the threat call. The cell site data does not cure the weakness in the landline

evidence itself, namely that it was a fax number and there is no proof Mr. Russell

was the one using it. And for the reasons discussed, there also was not sufficient

evidence that either of the calls from this number was actually the threat call, let

alone that Mr. Russell made it.

   B. Motion for New Trial

      Rule 33 motions “are granted only in ‘extraordinary circumstances,’ and are

committed to the trial court's discretion.” United States v. McCourty, 562 F.3d

458, 475 (2d Cir. 2009) (citation omitted).

      Here, the Court was appropriately sensitive to the potential unfair prejudice

Mr. Russell would suffer if the jury’s attention was focused on the allegations

against Mr. Kelly. It was for this reason that the Court employed a jury

questionnaire and was careful to exclude evidence of the allegations against Mr.
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Kelly. Likewise, the Court wisely recognized this was a straightforward case, in

part because Mr. Russell was not disputing his motive and intent to stop the

screening. For this reason, the Court also correctly tentatively excluded the

government’s proposed Rule 404(b) evidence of Mr. Russell’s other alleged threats

so long as Mr. Russell did not raise the issue of his intent, which he did not.

Nonetheless, despite these careful rulings to guard against unfair prejudice, such

prejudice did result from the admission of the PowerPoint exhibits, to which Mr.

Russell objected for all the same reasons discussed above and reiterated below.

      First, the Court admitted the PowerPoints (GEX 1409A, 1502B, 1512B,

1312, 1422, 1403) on the theory that they demonstrated Mr. Russell was trying to

intimidate Mr. Kelly’s victims. But this was irrelevant to the threat charge against

Mr. Russell and thus inadmissible under Federal Rule of Evidence Rule 402.

      Second, the admitted exhibits also were highly inflammatory and thus

unduly prejudicial and inadmissible under Federal Rule of Evidence Rule 403.

They created the very prejudice the Court tried so carefully to guard against,

namely that the narrow issue in the trial would be swamped by focusing the jury on

R. Kelly and the allegations against him. The PowerPoints pertained to Mr.

Kelly’s alleged victims and the allegations against him.

      Third, by linking Mr. Russell to Mr. Kelly, the PowerPoints improperly

swayed the jury to believe the government’s allegation that Mr. Russell was R.


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Kelly’s manager even though the evidence did not prove this and Mr. Russell was

not in fact R. Kelly’s manager.

      Fourth, they also were inadmissible under Federal Rule of Evidence 404(b)

just like the other evidence of alleged threats that was not admitted because Mr.

Russell was not disputing his motive and intent to stop the screening. This was the

basis the Court noted in allowing the PowerPoints into evidence, but the issue was

not in dispute and the resulting prejudice was so severe as to deny Mr. Russell his

right to a fair trial. A new trial is warranted for each of these reasons.

                                   CONCLUSION

      For the foregoing reasons, Mr. Russell respectfully requests that the Court

grant a judgment of acquittal. In the alternative, Mr. Russell respectfully requests

that the Court grant him a new trial.

Respectfully submitted,

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                          CERTIFICATE OF SERVICE


      I hereby certify that on August 5, 2022, I caused a true and correct copy of

the foregoing to be served by electronic means, via the Court’s CM/ECF system,

on all counsel registered to receive electronic notices.



                                        /s/Michael G. Freedman
                                        Michael G. Freedman
